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                                          8                        UNITED STATES DISTRICT COURT
                                          9                      CENTRAL DISTRICT OF CALIFORNIA
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601 SOUTH FIGUEROA STREET, SUITE 2500
 LOS ANGELES, CALIFORNIA 90017-5704




                                         11   Shanghai Qichengyueming Investment       Case No. 2:18-CV-7723 SJO (JPRx)
                                              Partnership Enterprise (Limited
         DENTONS US LLP




                                         12   Partnership),                             CONSENT JUDGMENT
            (213) 623-9300




                                         13                  Petitioner,
                                         14         v.                                 Action Filed: September 5, 2018
                                         15   Jia Yueting,
                                         16                  Respondent.
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                                                                                                          CONSENT JUDGMENT
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                                          1                                CONSENT JUDGMENT
                                          2   I.    JURISDICTION
                                          3         This Court has subject matter jurisdiction pursuant to 9 U.S.C. § 203. The
                                          4   CIETAC arbitration award issued is governed by the New York Convention
                                          5   because: (1) the award arose from a commercial legal relationship between the
                                          6   parties; (2) there was an agreement in writing to arbitrate any dispute(s) arising
                                          7   from the relationship; (3) the agreement provided for arbitration proceedings to take
                                          8   place in the People’s Republic of China, a signatory to the New York Convention;
                                          9   and (4) at least one of the parties is not an American citizen. 9 U.S.C. § 202.
                                         10         This Court has personal jurisdiction over the Respondent, and venue is
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 LOS ANGELES, CALIFORNIA 90017-5704




                                         11   proper in this District, because the Respondent presently resides within this District.
         DENTONS US LLP




                                         12   28 U.S.C. § 1391.
            (213) 623-9300




                                         13   II.   ENTRY OF JUDGMENT
                                         14         A final judgment is entered in favor of Petitioner Shanghai Qichengyueming
                                         15   Investment Partnership Enterprise (Limited Partnership) and against Respondent Jia
                                         16   Yueting that:
                                         17         1.     Respondent Jia Yueting pay to Petitioner Shanghai Qichengyueming
                                         18   Investment Partnership Enterprise (Limited Partnership) all amounts due as
                                         19   specified in that CIETAC arbitral award dated May 9, 2018 in CIETAC Arbitration
                                         20   Case No. X20170753, either in Chinese RMB or in U.S. dollars as determined by
                                         21   the exchange rate prevailing on the date that each payment is made; and
                                         22         2.     Respondent Jia Yueting pay to Petitioner Shanghai Qichengyueming
                                         23   Investment Partnership Enterprise (Limited Partnership) prejudgment interest at the
                                         24   rate of 4.35% per year on all amounts due as specified in that CIETAC arbitral
                                         25   award dated May 9, 2018 in CIETAC Arbitration Case No. X20170753, from the
                                         26   dates specified in that award to the date on which this judgment is entered; and
                                         27         3.     Respondent Jia Yueting pay to Petitioner Shanghai Qichengyueming
                                         28
                                                                                                    JOINT STIPULATION AND [PROPOSED]
                                                                                       -4-                        CONSENT JUDGMENT
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                                          1   Investment Partnership Enterprise (Limited Partnership) postjudgment interest
                                          2   pursuant to 28 U.S.C. § 1961.
                                          3         IT IS SO ORDERED.
                                          4
                                              Dated:   July 11, 2019
                                          5                                                United States District Court Judge
                                          6                                                S. James Otero

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                                                                                                  JOINT STIPULATION AND [PROPOSED]
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